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              EXHIBIT A
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                             Narrowed Requests For Production
1. Internal-facing slide decks, pitch decks, memoranda, summaries, SWOT analyses, or
   white papers regarding Andreessen Horwitz’s (“AH”) valuation of and/or investment
   into GitHub in 2012, including any such documents presented to AH’s internal
   committees regarding the potential investment into GitHub.

2. Internal due diligence documents regarding any actual or potential offer by AH to GitHub
   or Microsoft in or around 2012.

3. Internal communications to, from, or copying Peter Levine concerning the value of source
   code or the datasets hosted by GitHub.

4. Internal-facing slide decks, pitch decks, memoranda, summaries, SWOT analyses, white
   papers, concerning Microsoft’s acquisition of GitHub in 2018, including any such
   documents presented to AH’s internal committees.

5. Communications to any person or entity dated January 1, 2018, to October 26, 2018,
   concerning the value of source code and datasets hosted by GitHub.

6. External-facing slide decks, pitch decks, memorandas, summaries, white papers, SWOT
   analyses, prospectuses in AH’s exclusive control concerning Microsoft’s acquisition or
   potential acquisition of GitHub in 2018, including documents prepared pre- and post-
   acquisition.

7. Indices or tables of contents of any due diligence files prepared in the due diligence
   process of Microsoft’s acquisition of GitHub in 2018.
